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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5 Attorneys for Plaintiff
   United States of America
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00226-LJO-SKO
12                                      Plaintiff,     PRELIMINARY ORDER OF
                                                       FORFEITURE
13                            v.
14   FRANCISCO JAVIER GOMEZ-
     RODRIGUEZ,
15
                                        Defendant.
16

17

18          Based upon the plea agreement entered into between plaintiff United States of
19 America and defendant Francisco Javier Gomez-Rodriguez, it is hereby

20          ORDERED, ADJUDGED AND DECREED as follows:
21          1. Pursuant to 21 U.S.C. § 853, defendant Francisco Javier Gomez-Rodriguez’
22 interest in the following property shall be condemned and forfeited to the United States of

23 America, to be disposed of according to law:

24                  a)       one .22 caliber Marlin rifle, with missing barrel,
25                  b)       another .22 caliber Marlin rifle
                    ,
26                  c)       one .22 caliber round of ammunition, and
27                  d)       six .40 caliber rounds of ammunition.
28          2. The above-listed property constitutes property that facilitated or was involved in

      Preliminary Order of Forfeiture                  1
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 1 violations of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

 2          3. Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be
 3 authorized to seize the above-listed property. The aforementioned property shall be seized

 4 and held by the United States Marshals Service (or a designee), in its secure custody and

 5 control.

 6          4. a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall
 7 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 8 General’s (or a designee’s) intent to dispose of the property in such manner as the

 9 Attorney General may direct shall be posted for at least 30 consecutive days on the official
10 internet government forfeiture site www.forfeiture.gov. The United States may also, to

11 the extent practicable, provide direct written notice to any person known to have alleged

12 an interest in the property that is the subject of the order of forfeiture as a substitute for

13 published notice as to those persons so notified.

14               b. This notice shall state that any person, other than the defendant, asserting a
15 legal interest in the above-listed property, must file a petition with the Court within sixty

16 (60) days from the first day of publication of the Notice of Forfeiture posted on the official

17 government forfeiture site, or within thirty (30) days from receipt of direct written notice,

18 whichever is earlier.

19          5. If a petition is timely filed, upon adjudication of all third-party interests, if any,
20 this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853 in which all

21 interests will be addressed.

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24 IT IS SO ORDERED.

25      Dated:     May 9, 2016                           /s/ Lawrence J. O’Neill _____
26                                             UNITED STATES CHIEF DISTRICT JUDGE

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      Preliminary Order of Forfeiture                2
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